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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

                              CLERK’S MINUTES REGARDING
                                  MOTIONS HEARING

NAME OF CASE:         Hollow Spirits, LLC v. Corson Distilling Systems, Inc.

CASE NO.: Civ. No. 18-257 KK/JHR

        United States Magistrate Judge Kirtan Khalsa held a hearing on Defendant Corson Distilling
Systems, Inc.’s Motion to Dismiss, or in the Alternative, Stay and Compel Arbitration (Doc. 6) filed
April 2, 2019; and on Plaintiff’s Motion Requesting Leave to File Amended Complaint (Doc. 26)
filed January 2, 2019. The hearing commenced at 10:00 a.m. on Wednesday, February 6, 2019.
Proceedings were recorded on the Liberty Court Recording System in the Hondo Courtroom.

APPEARANCES:

For Plaintiffs:       Harry Jesse Jacobus, III

PROCEEDINGS:

10:01: Mr. Jacobus enters appearance.

10:01: The Court observes that it entered an order on January 11, 2019 requiring counsel for
Defendant Distilling Systems, Inc. to cause new counsel to enter an appearance on its behalf by
January 25, 2019, and requiring counsel for Defendant and a corporate representative to appear in
person for this hearing. Corson is in violation of the order in both respects.

10:02: As a sanction for violating the Court’s order, the Court will deny Defendant’s Motion to
Dismiss, or in the Alternative, Stay and Compel Arbitration. The Court will enter an order to that
effect later today.

10:03: The Court notes that it entered an order granting Plaintiff leave to file an amended
complaint. Once the amended complaint is filed, the case may be reassigned unless the newly
added party consents to Judge Khalsa presiding. This will preclude Judge Khalsa from making
dispositive rulings upon filing of amended complaint. If Plaintiff moves for default judgment,
ruling on that motion will be postponed pending consent or reassignment.

10:05: Mr. Jacobus advises Court that the amended complaint was filed this morning. He will file a
motion for default judgment against the corporate defendants expeditiously, and he will serve the
amended complaint on the newly added parties, against whom default judgment may be sought
later. Plaintiff is concerned that Defendant may be illegally transferring funds.

10:07: Court is adjourned.
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TIME SPENT IN HEARING:

Seven Minutes.
